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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

  UNITED STATES OF AMERICA                        §
                                                  §
  v.                                              §      No. 4:18CR103
                                                  §      Judge Mazzant
  RICHARD DENVER BELDEN                           §

                                  FINAL ORDER OF FORFEITURE

         This Court entered a Preliminary Order of Forfeiture in the above-captioned

 matter on August 22, 2019, pursuant to 18 U.S.C. §§ 2253(a)(1) and (a)(3).

         The government published, at www.forfeiture.gov for thirty consecutive days,

 notice of this forfeiture and of the intent of the government to dispose of the forfeited

 property in accordance with the law and further notifying all third parties of their right to

 petition the Court within thirty days for a hearing to adjudicate the validity of their

 alleged legal interest in the forfeited property.

         It is HEREBY ORDERED, ADJUDGED and DECREED:

         1.       That the right, title and interest to all of the hereinafter described property,

 is hereby condemned, forfeited and vested in the United States of America, and shall be

 disposed of according to law.

         2.       That the following property belonging to the defendant who is the subject

 of this Order, is hereby condemned and forfeited to the government in accordance with

 18 U.S.C. §§ 2253(a)(1) and (a)(3):

         a.       Dell laptop computer containing a 240GB PNY hard drive, bearing
                  identifying number PNY29140000552751002;


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             b.       Black homebuilt tower containing hard drives:
                      1. HGST internal 4TB hard drive, bearing serial number LAHE3N3J;
                      2. Hitachi internal 4TB hard drive, bearing serial number LAGSAL2H;
                      3. HGST internal 4TB hard drive, bearing serial number LAGG9L4J;
                      4. HGST internal 4TB hard drive, bearing serial number LAGUHBHJ;
                      5. Hitachi internal 2TB hard drive, bearing serial number FA0MD3PD;
                         and
                      6. Western Digital internal 6TB hard drive, bearing serial number
                         WXK1H644WX8D.
.
             3.       No claims have been filed by any party with respect to the forfeiture.

             4.       That the forfeited property shall be disposed of by the United States and/or

     the custodial agency in such manner as the United States Attorney General may direct.

             SIGNED this 7th day of February, 2020.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE




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